                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



UNITED STATES OF AMERICA, STATE OF
NORTH CAROLINA, STATE OF
CALIFORNIA, STATE OF COLORADO,
STATE OF CONNECTICUT, STATE OF
ILLINOIS, COMMONWEALTH OF
MASSACHUSETTS, STATE OF
MINNESOTA, STATE OF OREGON, and
STATE OF TENNESSEE,

                  Plaintiffs,
                                               Case No. 1:24-cv-00710-LCB-JLW
vs.

REALPAGE, INC.; CAMDEN PROPERTY
TRUST; CORTLAND MANAGEMENT,
LLC; CUSHMAN & WAKEFIELD, INC.;
GREYSTAR REAL ESTATE PARTNERS,
LLC; LIVCOR, LLC; PINNACLE
PROPERTY MANAGEMENT SERVICES,
LLC; and WILLOW BRIDGE PROPERTY
COMPANY, LLC,

                  Defendants.



      PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT REALPAGE’S
                           MOTION TO DISMISS




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       The question before the Court is simple: Does the complaint “state ‘a plausible

claim for relief’”? Robertson v. Sea Pines Real Estate Companies, Inc., 679 F.3d 278, 284

(4th Cir. 2012) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009)). It does. The

complaint (ECF No. 47 (“AC”)) contains robust allegations—which must be accepted as

true for purposes of RealPage’s motion—that RealPage violates Section 1 of the Sherman

Act by (1) collecting landlord customers’ granular, nonpublic, competitively sensitive

pricing data, and using it to power its pricing software that recommends how much to

charge for rent, and (2) teaching its landlord customers to use that software, together with

the pricing data, to set rents in a uniform way. And RealPage violates Section 2 of the

Sherman Act by using its position at the center of this illegal information exchange to

capture and entrench monopoly power in the market for commercial revenue

management software. Because the complaint plausibly alleges violations of both

sections of the Sherman Act, RealPage’s motion should be denied.

                              FACTUAL BACKGROUND

       The United States and a coalition of States bring two claims for relief under

Section 1 of the Sherman Act challenging RealPage’s scheme with landlords to exchange

their nonpublic, proprietary pricing data with each other and to use RealPage’s pricing

software to align their rental pricing (Claims 1 and 2), and two claims for relief under

Section 2 of the Sherman Act to end RealPage’s resulting monopolization of the

commercial revenue management software market (Claims 3 and 4). Eight Plaintiff States

also bring claims against RealPage under state law.


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       In a horizontal scheme with landlords who are knowing and willing participants,

RealPage collects pricing data for every visit, application, and signed new or renewed

lease at their properties across the country. (See AC ¶¶ 34, 262.) RealPage’s software

products, including YieldStar and AIRM, analyze that data and determine how much, in

turn, the landlords should charge for rent. (Id. ¶¶ 260–61.) Under its agreement with

landlords, RealPage can use a landlord’s pricing data to recommend rents not just for that

landlord’s own properties, but also for those properties’ competitors in a local rental

housing market. (Id.) RealPage has taken full advantage of this unlawful information

sharing arrangement under Claim 1: competitors’ pricing data is a “critical input” to

almost every step of AIRM’s and YieldStar’s rent recommendation algorithms. (Id. ¶¶ 15,

40–58.)

       Access to RealPage’s vast reservoir of nonpublic pricing data is a key reason why

landlords agree to use YieldStar or AIRM. RealPage advertises—and participating

landlords believe—that by exploiting competitors’ pricing data, YieldStar and AIRM can

help landlords achieve higher revenues. (See, e.g., AC ¶¶ 32, 167–71.) On top of that,

RealPage designed YieldStar and AIRM to align users’ pricing processes, strategies, and

pricing responses, and minimize discounts, which is the subject of Claim 2. (Id. ¶¶ 142–

52, 157–62.)

       These agreements among RealPage and landlords are as pervasive as they are

pernicious. In hundreds of rental markets nationwide, YieldStar and AIRM are used to set

rents for roughly 30 percent or more of all units, and RealPage collects and uses pricing

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data from an even greater share of units. (AC ¶¶ 208–11, App. A & B.) The agreements’

natural effect is to frustrate the predictable forces of competition in these rental markets

by reducing the number of independent centers of decision-making, i.e., landlords

competing with each other by deciding what rents to offer and what deals to make with

prospective or renewing renters. (Id. ¶¶ 1, 266, 276–77.)

       RealPage has also used its position at the center of this illegal information

exchange to monopolize or attempt to monopolize the market for commercial revenue

management software. (See AC ¶¶ 280–89.) By its own estimates, RealPage controls

more than 80 percent of that market, (id. ¶ 224), wielding its power by dramatically

increasing the prices of AIRM and YieldStar, (id. ¶ 228). Landlords absorb these

increases because, in return, RealPage leverages the shared pricing data to enable them to

extract higher revenues from the rental markets where they use RealPage’s

anticompetitive products. RealPage thus induces landlords to use YieldStar and AIRM

instead of switching to a competitor’s products, preventing rival software providers from

competing on the merits unless they similarly facilitate the illegal exchange and use of

competitor data and pricing alignment. As a result, landlords lack comparable

alternatives. (Id. ¶ 282.)

                                  LEGAL STANDARDS

       To survive a motion to dismiss, Plaintiffs need only “state a claim that is ‘plausible

on its face,’” after “draw[ing] all reasonable inferences in [their] favor.” E.I. du Pont de

Nemours & Co. v. Kolon Indus., Inc., 637 F.3d 435, 440 (4th Cir. 2011). A court is “not


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asked to consider whether defendants actually violated” the antitrust laws, Robertson,

679 F.3d at 284, or to “‘resolve contests surrounding the facts, the merits of a claim, or

the applicability of defenses,’” FTC v. Syngenta Crop Protection AG, 711 F. Supp.

3d 545, 562 (M.D.N.C. 2024) (quoting Republican Party of N.C. v. Martin, 980 F.2d 943,

952 (4th Cir. 1992)).

        Section 1 of the Sherman Act, 15 U.S.C. § 1, prohibits (1) any “contract,

combination, or conspiracy” (2) “that impose[s] an unreasonable restraint of trade.”

Dickson v. Microsoft Corp., 309 F.3d 193, 202 (4th Cir. 2002). Monopolization under

Section 2, 15 U.S.C. § 2, requires (1) the possession of monopoly power, and (2) willful

acquisition or maintenance of that power through anticompetitive conduct. See Duke

Energy Carolinas, LLC v. NTE Carolinas II, LLC, 111 F.4th 337, 353 (4th Cir. 2024)

(citing United States v. Grinnell Corp., 384 U.S. 563, 571 (1966)).

                                       ARGUMENT

        RealPage’s motion to dismiss fails both factually and legally. It attempts to

dispute—often by mischaracterizing—the well-supported factual allegations in the

complaint, which must be accepted as true at this stage. It also advances non-existent

legal rules to argue the complaint is insufficient. The complaint is well pleaded, and the

motion should be denied.

I.      The Amended Complaint States Plausible Claims for Relief under Section 1 of
        the Sherman Act

        RealPage challenges only the second element of Plaintiffs’ Section 1 claims:

whether the complaint plausibly alleges an “unreasonable” restraint on trade. (ECF No.
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74 (“Br.”) at 10–17.1) A restraint’s unreasonableness is “presumptively” measured under

the “rule of reason . . . looking to the circumstances, details, and logic of a restraint” to

assess its competitive effects. NCAA v. Alston, 594 U.S. 69, 81, 97 (2021) (quoting Cal.

Dental Ass’n v. FTC, 526 U.S. 756, 781 (1999)).2

       To satisfy the rule of reason, a plaintiff can establish anticompetitive effect either

“indirectly” or “directly.” Ohio v. Am. Express Co., 585 U.S. 529, 542 (2018). The

indirect approach requires first, “proof of market power,” and, second, “some evidence

that the challenged restraint harms competition.” Id. at 542. The direct approach requires

“proof of actual detrimental effects [on competition].” Id. at 542 (quoting FTC v. Ind.

Fed’n of Dentists, 476 U.S. 447, 460 (1986)). The complaint satisfies either approach.

       A.     Claims 1 and 2 Plausibly Allege Indirect Evidence of Anticompetitive
              Effects

       As shown below, the complaint plausibly alleges indirect evidence of

anticompetitive effects.




1
 RealPage does not question whether the complaint alleges “concerted action”
cognizable under Section 1 or that the challenged conduct affects interstate commerce.
2
 Contrary to what RealPage argues, (Br. at 9–10), Plaintiffs do not concede what mode
of analysis applies. The Court need not decide on the pleadings, however, because the
complaint satisfies the full rule of reason. See Lumber Liquidators, Inc. v. Cabinets To
Go, LLC, 415 F. Supp. 3d 703, 714 (E.D. Va. 2019) (collecting cases); Cont’l Airlines,
Inc. v. United Air Lines, Inc., 120 F. Supp. 2d 556, 565 (E.D. Va. 2000).


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              1.     Market Power

       Market power is the “ability to alter the interaction of supply and demand in the

market.”3 NCAA v. Bd. of Regents of Univ. of Okla., 468 U.S. 85, 109 (1984). “One

traditional way to demonstrate market power is by defining the relevant . . . market and

showing defendants’ percentage share of that market.” Todd v. Exxon Corp., 275 F.3d

191, 199 (2d Cir. 2001) (Sotomayor, J.). A relevant market consists of at least one product

and geographic market. Kolon, 637 F.3d at 441.

       The complaint alleges extensive, unchallenged facts supporting both the relevant

product market (conventional multifamily rentals, including by different bedroom counts)

and two types of geographic markets (RealPage-defined local markets and core-based

statistical areas). (AC ¶¶ 183–99, 204–18.) Plaintiffs then calculate market share two

ways: (1) the percentage of rental units that are priced using RealPage’s challenged

anticompetitive pricing software (AIRM and YieldStar) and (2) the percentage of units

managed by landlords using AIRM, YieldStar, and OneSite that contribute data to the

horizontal scheme. Using these methodologies, the complaint lists markets across the

country where RealPage’s market share ranges from 26% to over 80%. (Id. ¶¶ 209

(App’x A), 211 (App’x B), 214 (Table 1), 216 (Table 2).)




3
 “Market power” under Section 1 should not be confused with the “greater” showing
needed to establish “monopoly power” under Section 2. Eastman Kodak Co. v. Image
Tech. Servs., Inc., 504 U.S. 451, 481 (1992).

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       These market share allegations easily satisfy the pleading requirements for market

power. In American Column & Lumber Co. v. United States, 257 U.S. 377 (1921), the

Supreme Court held that a plan among competing hardwood lumber manufacturers to

share “daily, weekly, and monthly reports of the minutest details of their business to their

rivals” through a “central clearing house” violated Section 1 of the Sherman Act. Id.

at 393, 410–11. The Court was satisfied that the participating manufacturers controlled a

sufficient share of the aggregate production of hardwood lumber in the United States, id.

at 385, an admitted fact that the dissent confirmed was “about 30 per cent.,” id. at 413

(Brandeis, J., dissenting).

       Lower courts have likewise held market shares around or below 30% to be

sufficient. See, e.g., United States v. Visa U.S.A., Inc., 344 F.3d 229, 240 (2d Cir. 2003)

(affirming trial court finding that company had market power with 26% share). Moreover,

contrary to RealPage’s assertion, (Br. at 14), there is no requirement to plead market

share with specificity at the motion-to-dismiss stage. See Kolon, 637 F.3d at 452 n.12

(holding that a plaintiff need not allege “a specific percentage of market foreclosure”);

Newcal Indus., Inc. v. Ikon Office Sol., 513 F.3d 1038, 1045 (9th Cir. 2008); Scooter

Store, Inc. v. SpinLife.com, LLC, 777 F. Supp. 2d 1102, 1117 (S.D. Ohio 2011) (“plaintiff

does not have to allege an exact, percentage-based market share”). A percentage range

therefore suffices. Indeed, in the RealPage multidistrict litigation case, the district court

concluded that plaintiffs, having alleged market shares in the range of 25% to 53% in 33

of the 45 alleged submarkets, “ha[d] met their burden of alleging market power prior to

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discovery.” In re RealPage, Inc. Rental Software Antitrust Litig. (No. II), 709 F. Supp.

3d 478, 526–27 (M.D. Tenn. 2023). The court held that plaintiffs had met their burden

even for markets where estimated shares were below 30%. Id. at 527.

          RealPage’s arguments to the contrary are legally and factually incorrect. First,

RealPage asserts that “there is no market power as a matter of law” if the challenged

scheme has “less than 30%” market share (Br. at 14), shoehorning a discussion from the

Supreme Court’s opinion in Jefferson Parish Hospital District No. 2 v. Hyde, 466 U.S. 2

(1984), that discussed the application, after a full trial, of the per se rule to a tying claim

(a type of antitrust claim not alleged here). There, in declining to apply the per se rule, the

Court observed that a 30% “market share alone” did not establish “the kind of market

power that justifies condemnation of tying” without “further inquiry into actual

competitive conditions” in a particular hospital services market. Id. at 26–27. In other

words, the Court declined to conclusively condemn a tying claim under the per se rule

based solely on a 30% share in anesthesiology services and instead proceeded to analyze

the claim under the rule of reason. Id. at 29–30. This case does not concern tying at all,

let alone seek to invoke a per se rule against tying. The decision therefore simply does not

apply.4



4
 RealPage also relies on a truncated “cf.” parenthetical citation to Jefferson Parish
buried in a footnote in Dickson v. Microsoft Corp., 309 F.3d 193 (4th Cir. 2002). (Br. at
14.) But the Fourth Circuit cited Jefferson Parish there as a point of comparison with the
court’s hypothetical that a “five percent” market share where every competitor
“possess[ed] four percent” would not suffice. Dickson, 309 F.3d at 209 n.20.

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       RealPage’s purported more-than-30% rule also conflicts with decisions that have

found market power given the circumstances as alleged or have rejected a firm legal

cutoff. See Brokerage Concepts, Inc. v. U.S. Healthcare, Inc., 1995 WL 455969, at *3–4

(E.D. Pa. July 27, 1995) (Jefferson Parish court “did not broaden its statement to hold

that a 30 percent share always, in and of itself, precludes market power”); RealPage,

709 F. Supp. 3d at 527 (“Discovery will reveal the appropriate percentage of market share

needed to presume market power and the actual percentage RealPage enjoys in each of

Plaintiffs’ alleged submarkets.”). In sum, there is no set market share threshold that

Plaintiffs must allege, as demonstrated by the cases RealPage fails to cite.5

       Second, RealPage demands more detail about “the specific competitive

landscape—such as the presence or absence of significant entry barriers,” (Br. at 3)—in

the hundreds of markets where RealPage’s market share equals or exceeds 30%. But

Plaintiffs allege many features of competition common to markets across the country,

including barriers to entry. (AC ¶ 218.) Beyond that, such “deeply fact-intensive

inquir[ies]” into the “commercial realities faced by [renters],” Kolon, 637 F.3d at 442, do

not provide a basis for dismissing a robust complaint. See Syngenta, 711 F. Supp. 3d




5
  RealPage itself seems unsure of its position. In the brief supporting its prior motion to
dismiss, it asserted that “Plaintiffs must allege facts that at least 30% (per longstanding
Supreme Court precedent) or 40% (per recent case law) of the units in a particular
housing market use AIRM/YieldStar specifically[.]” (ECF No. 44 at 3.) Now, however, it
insists that the law requires that “more than 30% … and generally over 40%” of the units
use AIRM or YieldStar. (Br. at 3.)

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at 568 (rejecting defendants’ contention that plaintiffs “must explain in their complaint

why certain AIs or crop-protection products are excluded from the markets”).

       Third, RealPage protests that one of Plaintiffs’ two market share methodologies

includes users of OneSite, a property management software that does not, on its own,

provide pricing recommendations. (Br. at 15.) RealPage’s argument is essentially a

factual dispute, unsuitable for a motion to dismiss. And, as the complaint explains,

OneSite is appropriately included because it is one mechanism by which landlords—who

may be using AIRM or YieldStar at other properties they own or manage—share their

pricing data with RealPage, understanding that RealPage in turn will use it to generate

pricing recommendations for competitors, benefiting all landlords as their prices move

together. (AC ¶¶ 23, 26, 32–33, 261.)

              2. Tendency to Harm Competition

       Contrary to RealPage’s argument, Plaintiffs robustly allege that the agreement by

landlords to share information for use in pricing and the landlords’ pricing alignment

scheme tend to harm competition. See Am. Express, 585 U.S. at 542 (only “some

evidence” required). The complaint describes in detail the structure of the multifamily

housing market, the sensitivity and granularity of the data RealPage collects, and

RealPage’s use of the pricing data to set prices for competing landlords. (See AC ¶¶ 17–

27, 75–101, 120–52.) These details establish that RealPage’s agreements harm

competition under applicable case law. United States v. U.S. Gypsum Co., 438 U.S. 422,

441 n.16, 446–47 n.22 (1978); Todd, 275 F.3d at 208–13.


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       As the complaint alleges, several characteristics of the multifamily property

industry increase its susceptibility to coordination: Landlords regularly communicate

privately through calls, chat messages, emails, meetings, and shared drives with their

direct competitors about current and future prices and occupancy and sometimes consult

with other landlords about future pricing strategies. (AC ¶¶ 82–117.) These

communications, which involve senior executives to property managers, foster

interdependence among would-be competitors. See Am. Column, 257 U.S. at 409 (noting

extensive meetings among the participants). In addition, demand for housing is relatively

inelastic, (id. ¶¶ 75, 77), see United States v. Container Corp. of Am., 393 U.S. 333, 337

(1969), and RealPage’s software enables competing landlords to compare floor plans,

units, and amenities, see Todd, 275 F.3d at 209–10.

       Participating landlords agree to provide RealPage with “detailed data … that are

private, updated nightly, and granular” and that “includes lease-level information on each

unit’s effective rent (rent net of discounts), rent discounts, rent term, and lease status, as

well as unit characteristics such as layout and amenities.” (AC ¶¶ 18, 21.) The shared

lease transaction data covers not only new leases but also renewals, about which no

information is publicly available. (Id. ¶¶ 34, 178.) The granularity, contemporaneity, and

sensitivity of this price and output data all indicate that RealPage’s scheme is

anticompetitive. Am. Column, 257 U.S. at 398–99; Container Corp., 393 U.S. at 336;

Todd, 275 F.3d at 211–13.




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       Landlords share pricing data understanding that RealPage uses it in AIRM and

YieldStar to recommend prices not just for its units but also those of its competitors.

(AC ¶¶ 1, 17, 19, 23, 25.) The attraction of RealPage’s products is that the landlord can

leverage not just its own data but also its competitors’. (Id. ¶¶ 20, 26.) As RealPage has

touted to its clients, the combined effect of competing landlords using AIRM or YieldStar

can be likened to a “rising tide [that] raises all ships,” meaning that prices for competing

units move in a similar manner from using the software. (Id. ¶¶ 32–33.) Such “specially

and confidentially informed” pricing advice, based on “the minutest details” of

competitors’ businesses, tends to restrain competition. Am. Column, 257 U.S. at 410.

Conversely, RealPage does not make its data publicly available or use it to develop

products for renters, further evincing harm to competition. (AC ¶ 156 (cautioning

landlords not to share the rent matrix with renters).) See Todd, 275 F.3d at 213

(exchanging data with competitors but not others suggests anticompetitive effect); Am.

Column, 257 U.S. at 411 (similar conclusion). Taking these factors together, the

complaint is more than sufficient to satisfy the pleading standard.

       B.     Claims 1 and 2 Plausibly Allege Direct Evidence of Anticompetitive
              Effects

       As previewed above, the complaint alleges extensive direct evidence from

RealPage’s own documents and testimony illustrating a scheme to suppress competition.

Direct evidence can include allegations that RealPage increased prices above a

competitive level, reduced output, or “otherwise stifled competition.” Am. Express,

585 U.S. at 547. In attacking the complaint, RealPage inappropriately focuses only on the
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first category of evidence—supracompetitive prices, (Br. at 11–12)—and wholly ignores

the complaint’s extensive allegations of other evidence of stifled competition. (See, e.g.,

AC ¶¶ 17–33, 260–79.)

       For instance, the complaint quotes one RealPage executive saying that the

software made participating landlords “likely move in unison versus against each other,”

evidence of which was “see[ing] the trajectory of performance and trends be eerily

similar” across ostensible competitors. (AC ¶ 128.) Another RealPage executive

explained that RealPage’s “rising tide raises all ships” mantra means “there is greater

good in everybody succeeding versus essentially trying to compete against one another in

a way that actually keeps the industry down.” (Id. ¶ 32.) In other words, RealPage’s

software is intended to help all landlords succeed and avoid normal competition among

them. The complaint also explains how RealPage’s software applies several rules—

“guardrails”—that override the software’s normal operations and inhibit landlords’

competitive price cuts, to the detriment of consumers. (Id. ¶¶ 142–52.) Imposing a “hard

floor” prevents price recommendations from falling below a blended average of its

competitors. (Id. ¶¶ 44, 143.) This is quintessential stifling of competition.

       Discounting these allegations, RealPage contends that Plaintiffs must “show that

the software has caused prices to be ‘above a competitive level’ in any alleged relevant

market.” (Br. at 11.) As an initial matter, Plaintiffs need not “show” anything; merely

plausibly alleging facts to support the claims is enough. “At this point, … allegations of




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adverse effects on competition must be accepted as true[.]” Advanced Health-Care Servs.,

Inc. v. Radford Community Hosp., 910 F.2d 139, 145 (4th Cir. 1990).

       Nor are Plaintiffs required to show proof of price increases to succeed under the

direct approach. In Robertson, the Fourth Circuit rejected RealPage’s argument that a

complaint must show “whether prices went up, down, or stayed the same” during a given

time frame. 679 F.3d at 291. It held that a “complaint need not ‘make a case’ against a

defendant or ‘forecast evidence sufficient to prove an element’ of the claim.” Id. The bar

has been easily met as long as the complaint’s “alleged anticompetitive effects are

economically plausible in light of the . . . restrictions recounted in the complaint.” Id.

Similarly, in FTC v. Indiana Federation, the Supreme Court held that the challenged

anticompetitive agreement was “likely enough to disrupt the proper functioning of the

price-setting mechanism of the market that it may be condemned even absent proof that it

resulted in higher prices or, as here, the purchase of higher priced services, than would

occur in its absence.” 476 U.S. at 461–62. See also United States v. Brown Univ., 5 F.3d

658, 674 (3d Cir. 1993) (noting that “actual dollar amount effects do not necessarily

reflect the harm to competition which Congress intended to eliminate in enacting the

Sherman Act”). Judged against these standards, Plaintiffs’ complaint independently

satisfies the rule of reason based on direct evidence of anticompetitive effects. See, e.g.,

Dale v. Deutsche Telekom AG, 2023 WL 7220054, at *15 (N.D. Ill. Nov. 2, 2023).




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II.    The Amended Complaint States Plausible Claims for Relief under Section 2 of
       the Sherman Act

       The complaint plausibly alleges in Claim 3 that RealPage has (1) “monopoly

power in the relevant market” of commercial revenue management software (2) that it

“willfully acquired or maintained . . . through anticompetitive conduct.’” Duke Energy

111 F.4th at 353 (citation omitted). Attempted monopolization, as alleged in Claim 4, has

a lower threshold of power in the market—sufficient to constitute a “dangerous

probability of success”—but adds specific intent. See Kolon, 637 F.3d at 453.

       A.     The Amended Complaint Plausibly Alleges Commercial Revenue
              Management Software Is a Relevant Product Market

       RealPage improperly challenges the facts underlying Plaintiffs’ alleged national

market for commercial revenue management software for conventional multifamily

housing rentals. (AC ¶¶ 220, 229.) A product market may be defined using “Brown Shoe

factors,” that is “such practical indicia as industry or public recognition of the [market] as

a separate economic entity, the product’s peculiar characteristics and uses, unique

production facilities, distinct customers, distinct prices, sensitivity to price changes, and

specialized vendors.” Brown Shoe Co. v. United States, 370 U.S. 294, 325 (1962);

Regeneron Pharms., Inc. v. Novartis Pharma AG, 96 F.4th 327, 339 (2d Cir. 2024)

(discussing the “practical indicia” factors from Brown Shoe); FTC v. Tapestry, Inc., 2024

WL 4647809, at *12–24 (S.D.N.Y. Nov. 1, 2024) (applying Brown Shoe factors and

holding that FTC’s alleged market was a relevant product market).




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       RealPage recognizes Plaintiffs’ market, referring to itself as the “market leader in

commercial revenue management for multifamily.” (AC ¶ 222.) It has noted its dominant

share of the “market” for commercial revenue management software, touting its

domination of the competition—two commercial revenue management providers—within

that market. (Id. ¶¶ 175–78, 223–225.) It even told a prospective customer that it has no

“true competitors” because of its access to nonpublic transactional lease data. (Id. ¶ 180.)

Landlords similarly recognize this market and RealPage’s power over it. When RealPage

refused to decrease its price for AIRM, one landlord bemoaned RealPage’s “monopoly on

a product category.” (Id. ¶ 228 (emphasis added).)

              1. RealPage Improperly Disputes the Alleged Facts That Define a Relevant
                 Market

       RealPage argues that inhouse software and manual pricing (pricing such as using

Excel) must, as a matter of law, be included in the relevant market.6 (Br. at 24.) The

caselaw imposes no such rule. Relevant market definition is “a fact-intensive exercise

centered on the commercial realities of the market and competition.” Kolon, 637 F.3d at


6
   RealPage cites the United States’ proposed Final Judgment with Cortland to argue that
inhouse software must be included. That document is not properly considered because it
is outside the complaint. See, e.g., Occupy Columbia v. Haley, 738 F.3d 107, 116 (4th Cir.
2013); Fed. Nat’l Mortgage Ass’n v. Quicksilver LLC, 155 F. Supp. 3d 535, 546
(M.D.N.C. 2015) (same); see also Koch Agronomic Servs., LLC v. Eco Agro Res. LLC,
2015 WL 5712640, at *9 (M.D.N.C. Sept. 29, 2015) (“[T]o further confuse the issues by
referring to matters outside the pleadings and not in evidence is not an appropriate
tactic.”). Nor does the document explain Cortland’s years of efforts to develop the
referenced solution—exactly why it is not properly considered at this stage, much less
construed to be representative of other uniquely situated landlords.


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442. Both decisions on which RealPage relies are post-trial decisions. (Br. at 25 (citing

Epic Games, Inc. v. Apple, Inc., 67 F.4th 946, 978 (9th Cir. 2023) and United States v.

Sungard Data Sys., Inc., 172 F. Supp. 2d 172, 186 (D.D.C. 2001)).) Contrary to

RealPage’s argument, these cases demonstrate the need for the factfinder to have

evidence—not allegations and arguments of the parties—to make such a fact-dependent

decision. See also Grinnell, 384 U.S. at 574 (concluding that proprietary security systems

“can be used only by a very large business or by government and are not realistic

alternatives for most concerns,” and thus are not interchangeable with “central station”

services); United States v. H & R Block, Inc., 833 F. Supp. 2d 36, 54–60 (D.D.C. 2011)

(concluding that “self-supply” services, such as assisted tax preparation and manual tax

preparation, were not in the same product market as “digital do-it-yourself” tax

preparation services).

       Furthermore, the complaint contains all that is required at this stage: a “plausible

explanation as to why users would not switch, even if they technically could.” FTC v.

Facebook, Inc., 560 F. Supp. 3d 1, 17 (D.D.C. 2021). As one landlord explained, manual

pricing does not compete because it “cannot solve at the level a revenue management tool

can.” (AC ¶ 227.) With respect to the supposed “inhouse solution,” the complaint quotes

another landlord expressing the industry’s desire for a new product to compete with

AIRM, noting that it had “no options besides RealPage,” and yet another noting the need

for a new competitor and plans to help incubate one. (Id. ¶ 228.) “[E]conomic actors

usually have accurate perceptions of economic realities.” Syngenta, 711 F. Supp. 3d at

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567. Here, that reality is that inhouse solutions are not so readily available to RealPage’s

customers such that they could “compete” with RealPage’s products. See id. at 566

(explaining that a relevant product market requires more than “technical

interchangeability”).

       If RealPage wants to argue that Plaintiffs’ market must include inhouse software

and manual pricing, the appropriate stage is at trial with evidence. Kolon, 637 F.3d at 443

(“[D]ismissal of an antitrust claim for failure to adequately plead the relevant market can

be problematic.”); Syngenta, 711 F. Supp. 3d at 568–69 (rejecting defendants’ argument

that “Plaintiffs must explain in their complaint” why the market excluded certain

products). At this stage of the case, Plaintiffs have pled a relevant market, well supported

by evidence, that must be accepted as true.

              2. RealPage Misapplies the Law to Argue for a Different Market

       RealPage also misapplies the law to argue that Plaintiffs’ market implausibly

excludes “traditional non-software-based methods for informed pricing” (i.e., manual

pricing). (Br. at 24–26.) RealPage argues that because some conventional multifamily

units do not use commercial revenue management software, a market for commercial

revenue management software is implausible. (Id.) That argument is both another factual

dispute—ignoring the allegations in the complaint (AC ¶¶ 221–28)—and a misstatement

of the law.

       In addition to Brown Shoe’s practical indicia, a market may be defined using the

Hypothetical Monopolist Test (HMT), as set forth in the 2023 Merger Guidelines.


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Syngenta, 711 F. Supp. 3d at 567; U.S. Dep’t of Justice & Fed. Trade Comm’n, Merger

Guidelines § 4.3 (2023), available at https://www.justice.gov/atr/2023-merger-

guidelines.7 The HMT asks whether a hypothetical monopolist of a proposed market

could profitably worsen terms for consumers by, for example, raising what would be the

competitive price by 5%. Merger Guidelines §§ 4.3, 4.3.B. If it can, the market is

properly defined. Syngenta, 711 F. Supp. 3d at 567. A relevant product market “should

ordinarily be defined as the smallest product market that will satisfy the hypothetical

monopolist test.” H & R Block, 833 F. Supp. 2d at 59 (“[i]nclusion of all possible

methods of tax preparation, including pen-and-paper, in the relevant product market” not

required).

       Under both Brown Shoe’s practical indicia and the HMT, the complaint plausibly

pleads a product market for commercial revenue management software for conventional

multifamily housing rentals. For example, RealPage increased annual costs for revenue

management for one landlord by 400% over a 5-year period; in response, that landlord

considered only another commercial revenue management software product as a possible

substitute. (AC ¶ 228.) RealPage charged for AIRM three times what a competing

product cost. (Id. ¶ 179.) And another commercial revenue management software

provider was unable to convince multiple customers to switch away from RealPage to its


7
 Multiple appellate and district courts have endorsed or used the HMT as defined by the
Merger Guidelines. Syngenta, 711 F. Supp. 3d at 567 (collecting cases); Tapestry, Inc.,
2024 WL 4647809, at *8 (same).


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product even when giving it away for free. (Id. ¶ 179.)8 These examples showcase

RealPage’s ability to profitably raise prices above a competitive level even absent

hypothetical control over products from competitors such as Yardi and Entrata (id. ¶ 225);

control over them would grant RealPage greater ability to raise prices, satisfying the

HMT.

       RealPage turns this analytical framework on its head. Rather than considering

whether a hypothetical monopolist could increase the price to current customers in the

alleged product market, RealPage points to a solution outside the market (manual pricing)

and claims that its existence means Plaintiffs’ product market is flawed. (Br. at 25–26.)

This argument is logically and legally wrong. “[T]he mere fact that a firm may be termed

a competitor in the overall marketplace does not necessarily require that it be included in

the relevant product market for antitrust purposes.” Tapestry, 2024 WL 4647809, at *8.

       RealPage ignores the commercial realities of this market, references documents

outside the pleadings, and misunderstands the motion-to-dismiss standard. If RealPage

wishes to challenge the factual bases for this market, it must do so at trial and with

evidence. At this stage, RealPage “impermissibly asks the Court to summarily resolve the

‘fact intensive’ question of reasonable substitutability at the pleading stage.” RealPage,


8
 RealPage seizes upon a single word, “primarily,” to argue that commercial revenue
management software products face meaningful competition from inhouse and manual
pricing, and that these are reasonable substitutes. (Br. at 24.) That is wrong. As the
complaint alleges, to the extent that RealPage faces competitive pressure, it is from other
providers of commercial revenue management software, and other methods of pricing are
not reasonable substitutes. (AC ¶¶ 174, 179, 181, 227.)

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Inc. v. Yardi Sys., Inc., 852 F. Supp. 2d 1215, 1222–24 (C.D. Cal. 2012) (agreeing with

RealPage that defendant impermissibly challenged RealPage’s alleged proposed market

on motion to dismiss by arguing for inclusion of self-hosted software).

       B.     Direct and Indirect Evidence Demonstrates That RealPage Enjoys
              Monopoly Power Over Commercial Revenue Management Software

       RealPage enjoys monopoly power—the “power to control prices or exclude

competition,” United States v. E.I. du Pont de Nemours & Co., 351 U.S. 377, 391

(1956)—within the relevant product market. (AC ¶ 219.) Monopoly power can be

demonstrated through either direct evidence of power over prices by the defendant

profitably raising prices substantially above the competitive level, or indirect evidence of

a “dominant share of a relevant market that is protected by entry barriers.” United States

v. Microsoft Corp., 253 F.3d 34, 51 (D.C. Cir. 2001) (en banc); see also Dickson, 309

F.3d at 199 n.1. The complaint plausibly pleads monopoly power through direct and

indirect evidence.

       With respect to direct evidence, RealPage charges a substantial premium for

AIRM and retains customers despite a refusal to negotiate prices and its imposition of

significant price increases. (See AC ¶¶ 169, 179–80, 225, 228 (alleging direct evidence of

power to control price).) The complaint also alleges ample indirect evidence of

RealPage’s monopoly power. By its own reckoning, RealPage has a durable market share

greater than 80%. (Id. ¶¶ 223–24.) Multiple barriers to entry include RealPage’s data

scale advantage and its related unlawful use of competing landlords’ nonpublic,

competitively sensitive data to provide revenue management services to landlords. (Id.
                                           - 21 -


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¶¶ 172–79, 182, 226.) Without violating Section 1 as RealPage has done, competitors

cannot match RealPage’s data scale and the performance of AIRM and YieldStar (and,

depending on how landlords use it, RealPage’s revenue management product LRO). Two

years after a landlord discussed helping “incubate” an alternative to AIRM, that

alternative commercial revenue management provider had less than a 0.5% market share.

(Id. ¶ 228.) Fourth Circuit precedent holds that these allegations more than sufficiently

plead monopoly power. Kolon, 637 F.3d at 451 (holding that plaintiffs adequately pled

monopoly power where the complaint alleged a durable 70% market share and barriers to

entry).

          RealPage does not challenge the direct evidence in the complaint of its power to

control prices and therefore its motion fails on that basis alone. Its arguments against

indirect evidence of monopoly power are flawed in the same manner as its market

definition arguments. RealPage acknowledges that its alleged 80% market share exceeds

the requisite threshold and merely repeats its contention that its share is only 30%. (Br.

at 27.) It goes further, relying on unsupported factual allegations that “11 million units are

ripe targets for expanding the alleged commercial RMS market” to essentially advocate

for a different market. (Br. at 27–28.) As explained above, RealPage’s factual challenge

to market definition is both substantively wrong and improper on a motion to dismiss. In

addition, RealPage’s argument that there are no entry barriers is yet another factual

argument, ignoring the allegations that the law bars its competitors from collecting and

using nonpublic data, as it has in AIRM and YieldStar. (AC ¶¶ 181, 226.) Cf. United

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States v. Cavera, 550 F.3d 180, 196 & n.14 (2d Cir. 2008) (en banc) (noting that laws

regulating or prohibiting products can create higher barriers to entry for that market).

Landlords understand and prize RealPage’s illegal use of competitively sensitive data in

AIRM and YieldStar, choosing RealPage over competing revenue management providers

because they cannot offer the same profit boost using their competitors’ data. (AC

¶¶ 167–71.) In other words, other software companies would have to engage in the same

Section 1 violations as RealPage to compete, a tremendous barrier to entry.

       RealPage’s reliance on Metro Mobile CTS, Inc. v. NewVector Communications,

Inc., 892 F.2d 62 (9th Cir. 1989), is likewise misplaced. Metro Mobile was the appeal of a

summary judgment decision where there was evidence adduced in discovery that

“barriers to entry were concededly low” and there was a “rapidly growing wholesale

market.” Id. at 63. The Metro Mobile court further discounted market share evidence

because of the regulated nature of the cellular telephone market. Id. Those dispositive

facts, supported by evidence, are absent here, where there are only allegations to the

contrary that must be taken as true.

       C.     The Amended Complaint Plausibly Alleges RealPage Harmed
              Competition for Commercial Revenue Management Software

       RealPage’s argument that its conduct is not a “common form[] of alleged

misconduct” and does not meet the categorized “tests for exclusionary conduct” is plainly

wrong. (Br. at 18, 22–23.) The Fourth Circuit explicitly rejected this argument last year,

stating that “anticompetitive conduct comes in many different forms that cannot always



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be categorized,” and that “Section 2 focuses on anticompetitive conduct, not on court-

made subcategories of that conduct.” Duke Energy, 111 F.4th at 354 (citation omitted).

       Anticompetitive conduct is simply conduct “‘to foreclose competition, to gain a

competitive advantage, or to destroy a competitor.’” Kolon, 637 F.3d at 441 (quoting

Eastman Kodak, 504 U.S. at 482–83); see also Duke Energy, 111 F.4th at 353. “[T]he

means of illicit exclusion, like the means of legitimate competition, are myriad.” Id. at

354 (citation omitted). It includes conduct that “tends to impair the opportunities of

rivals” and “does not further competition on the merits.” Aspen Skiing Co. v. Aspen

Highlands Skiing Corp., 472 U.S. 585, 605 n.32 (1985). Harm to the competitive process

is anticompetitive harm. Duke Energy, 111 F.4th at 354–55. The complaint extensively

alleges exactly this kind of harm, and so the motion fails.

       RealPage is alleged to have engaged in precisely the type of unlawful conduct that

provided it a competitive advantage, impaired the opportunities of rivals to compete on

lawful merits, and harmed the competitive process by entering into an agreement

(unlawful under Section 1) with landlords, including AIRM and YieldStar customers, to

gather and use nonpublic, competitively sensitive data from competing landlords to offer

price recommendations and prices that used their competitors’ data. (AC ¶¶ 17–27, 260–

61.) It further agreed unlawfully with AIRM and YieldStar users that they would use

AIRM and YieldStar to align pricing. (Id. ¶¶ 28–33, 271–73.) In exchange for the

promise of outperforming the market by 2–7%, landlords committed to use RealPage’s

revenue management products and pay RealPage’s supracompetitive fees. (E.g., id. ¶¶ 20,

                                           - 24 -


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179, 228.) In short, RealPage compensated landlords with the fruits of unlawful

information sharing and coordination to maintain its monopoly over commercial revenue

management software products.

       Illegal conduct, such as RealPage’s Section 1 violations, can support a

monopolization claim where it has the requisite effect on competition. For instance, in

Walker Process Equipment, Inc. v. Food Machinery & Chemical Corp., 382 U.S. 172

(1965), the Supreme Court held that “the maintenance and enforcement of a patent

obtained by fraud” supports a monopolization claim. Id. at 173–74. Likewise, the

Supreme Court held in California Motor Transportation Co. v. Trucking Unlimited, 404

U.S. 508 (1972), that “illegal” or otherwise “reprehensible” sham litigation tactics

support a monopolization claim. Id. at 513. See also Conwood Co., L.P. v. U.S. Tobacco

Co., 290 F.3d 768, 783–88 (6th Cir. 2002) (affirming monopolization verdict where

defendant engaged in tortious conduct to exclude a competitor); Caribbean Broad. Sys.,

Ltd. v. Cable & Wireless P.L.C., 148 F.3d 1080, 1087 (D.C. Cir. 1998) (fraudulent

misrepresentations to advertisers and sham objections to a government agency sufficed to

allege anticompetitive conduct); Klein v. Facebook, Inc., 580 F. Supp. 3d 743, 797–802

(N.D. Cal. 2022) (plaintiffs adequately alleged Facebook’s false representations on data

privacy constituted exclusionary conduct). If illegal or tortious conduct can undergird a

monopolization claim, then a fortiori RealPage’s violations of the antitrust laws (here,

Section 1) can.




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       RealPage’s illegal conduct impairs rivals’ opportunities and harms the competitive

process. For example, its primary selling point for AIRM was access to non-public data,

even as it planned to sunset products like LRO that did not exploit nonpublic data at the

same level. (AC ¶ 174–78.) RealPage claimed competing products lacking this data were

like a “Ferrari without an engine” (id. ¶¶ 177–80), and affirmatively used this “data

moat” to block new entry when its customers might have moved from LRO to a

competitor, (id. ¶ 179–81). Competitors struggle to enter the market, often unable to win

business away from AIRM or YieldStar by offering their products for half the price, one-

third the price—or even for free. (Id. ¶¶ 169, 179, 228.) RealPage’s market share

continues to climb. (Id. ¶ 224.) In short, RealPage’s illegal conduct has broken

competition in this market and given it an unlawful competitive advantage.

       RealPage also attacks a strawman by asserting that “data collection is not

exclusionary conduct.” (Br. at 18.) As explained already, Plaintiffs do not allege mere

data collection under Claims 1 and 2. Rather, landlords (1) agreed to share competitively

sensitive data with each other through RealPage for use in pricing and (2) agreed with

RealPage to align their pricing. (E.g., AC ¶¶ 260–64, 271–73.) The case that RealPage

cites, Dreamstime.com v. Google LLC, 54 F.4th 1130 (9th Cir. 2022), held that

Dreamstime’s bare allegation of Google’s monopolization of the online search

advertising market in part by “unlawfully capturing data from users and advertisers” was

insufficient because Dreamstime did not “plausibly allege how Google’s data collection

techniques are improper or unlawful.” Id. at 1142 (emphasis added). By contrast,

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RealPage’s unlawful agreements with landlords to share and use competitively sensitive

information in pricing, and to align pricing among competitors, serve to entrench its

monopoly. (AC ¶¶ 176–82, 282–83, 287–89.)

       RealPage’s argument that Plaintiffs do not “identify any legal bar that would keep

rivals from competing using a business model involving nonpublic information” likewise

fails. (Br. at 20.) The legal bar to RealPage’s competitors (and to RealPage) is the

Sherman Act and relevant State laws. As the complaint alleges, “RealPage has become

more entrenched and has stymied alternatives unless they too enter into similar unlawful

agreements with landlords to obtain and use nonpublic transactional data to price units.”

(AC ¶ 166; see also id. ¶¶ 165, 182.) Nor does RealPage offer any legal basis—because

there is none—for its erroneous argument that its conduct cannot be anticompetitive

under Section 2 unless it is per se unlawful under Section 1. (Br. at 20.) Cf. Conwood,

290 F.3d at 783–88; Klein, 580 F. Supp. 3d at 797–802.

       RealPage also tries to manufacture confusion over the fact that the Section 2

claims have different relevant markets than the Section 1 claims. (Br. at 20–21.) There is

no inconsistency between two sets of claims under two different sections of the Sherman

Act impacting different markets. RealPage enables unlawful information sharing and

pricing alignment among landlords competing in local markets for conventional

multifamily housing rentals, in violation of Section 1. At the same time, it uses the fruits

of that unlawful conduct to foreclose competition for commercial revenue management




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software, a national market, in violation of Section 2. As explained above in detail, its

conduct harms the competitive process in the latter market.

       Finally, with respect to the attempted monopolization claim, RealPage’s

conclusory arguments are wrong. As already discussed, the complaint adequately pleads

RealPage’s anticompetitive conduct and monopoly power for Claim 3, which satisfies the

analogous elements for Claim 4. Kolon, 637 F.3d at 453. As for specific intent, RealPage

summarily argues that Plaintiffs do not allege specific intent and that intent cannot be

inferred. (Br. at 28 n.12.) RealPage is wrong on the law, see Kolon, 637 F.3d at 453

(“[S]pecific intent may be inferred from the defendant’s anticompetitive practices.”), and

ignores the allegations that RealPage intends its (unlawful) use of nonpublic data to

entrench its monopoly, (AC ¶¶ 174–77, 179 (RealPage’s use of nonpublic data creates a

“data moat” and a “major competitive advantage”), 181–82). RealPage’s intent can be

easily inferred from the wealth of allegations showing how it has worked to ensure it

monopolizes the commercial revenue management software market.

       In sum, RealPage’s arguments amount to improper attempts to confuse or factually

challenge the allegations and misapplications of the law. The Court should deny

RealPage’s motion to dismiss the Section 2 claims.

III.   The State-Law Claims Should Not Be Dismissed

       RealPage does not make a separate argument about most of the state-law claims,

contending only that they necessarily fail if the federal claims fail. (Br. at 28–29.) The

States’ claims under state law are not “governed by the same standards” as federal claims.


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Cf. Felder v. Casey, 487 U.S. 131, 151 (1988). The state-specific claims are based on

state-specific law that is either: (i) more protective of the States’ interests than is the

Sherman Act; or (ii) at least co-extensive with the Sherman Act claims. E.g., Epic Games,

67 F.4th at 1000.

       The States have invoked unfair business practice or antitrust statutes that are

broader than federal laws. See L.C. Williams Oil Co. v. Exxon Corp., 625 F. Supp. 477,

481 (M.D.N.C.1985) (North Carolina’s section 75.1.1 “include[s] within its reach the

federal antitrust laws” but also sanctions practices “beyond traditional antitrust concepts”

(citing Marshall v. Miller, 302 N.C. 539, 549 (N.C. 1981))); Syngenta, 711 F. Supp. 3d at

591 (recognizing that California’s Unfair Competition Law “covers conduct that ‘violates

the policy or spirit’ of the antitrust laws ‘or otherwise significantly threatens or harms

competition’” (quoting Cel-Tech Commc'ns, Inc. v. L.A. Cellular Tel. Co., 20 Cal. 4th

163, 180–87 (1999))); Ciardi v. F. Hoffmann LaRoche, Ltd., 762 N.E.2d 303, 308–12

(Mass. 2002) (Massachusetts’s Consumer Protection Act, Mass. Gen. L. c. 93A, “creates

new substantive rights and provides new procedural devices for the enforcement of those

rights” as compared to the Massachusetts Antitrust Act, Mass. Gen. L. c. 93); Freeman

Indus., LLC v. Eastman Chem. Co., 172 S.W.3d 512, 519 (Tenn. 2005) (“Tennessee does

not have a statutory ‘harmony clause’ mandating courts to interpret the TTPA consistently

with federal law.”). Colorado’s 2023 Antitrust Act removed a harmonization provision,

although federal decisions remain “helpful to an understanding” of Colorado’s antitrust

laws. People v. North Ave. Furniture & Appliance, Inc., 645 P.2d 1291, 1295–96 (Colo.

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1982) (en banc). Connecticut’s and Oregon’s state-law-based antitrust claims are merely

guided by, but not beholden to, federal decisions. Conn. Gen. Stat. § 35-44b; Or. Rev.

Stat. § 646.715(2). Additionally, for all the reasons stated above, the state-law claims

survive even if they are co-extensive with the Sherman Act.

       RealPage’s lone argument about a specific state-law claim—attempting to argue

that Tennessee’s law does not apply to services (Br. at 29)—misses the mark entirely.

RealPage ignores that the Tennessee Trade Practices Act, as amended last year, applies to

“service[s].” Tenn. Code Ann. § 47-25-101; Biddle v. Walt Disney Co., 2024 WL

3171860, at *17 (N.D. Cal. June 25, 2024).

       The Court should deny RealPage’s motion to dismiss Plaintiff States’ claims

predicated on state law.



Dated: February 25, 2025                   Respectfully submitted,


                                                    By: s/ Henry C. Su
                                                    Henry C. Su
                                                    David A. Geiger
                                                    John J. Hogan
                                                    Arshia Najafi
                                                    Andrew Tisinger

                                                    Attorneys
                                                    United States Department of Justice
                                                    Antitrust Division
                                                    450 Fifth Street N.W., Suite 7100
                                                    Washington, DC 20530
                                                    Telephone: (202) 307-6200
                                                    Email: henry.su@usdoj.gov


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                                          FOR PLAINTIFF STATE OF NORTH
                                          CAROLINA:

                                          JEFF JACKSON
                                          Attorney General of North Carolina

                                          /s/ Kunal J. Choksi
                                          KUNAL J. CHOKSI
                                          Senior Deputy Attorney General
                                          N.C. Bar. No. 55666
                                          ASA C. EDWARDS IV
                                          Special Deputy Attorney General
                                          N.C. Bar No. 46000
                                          North Carolina Department of Justice
                                          114 W. Edenton Street
                                          Raleigh, NC 27603
                                          Telephone: 919-716-6000
                                          Email: kchoksi@ncdoj.gov

                                          Attorneys for Plaintiff State of North
                                          Carolina

                                          FOR PLAINTIFF STATE OF
                                          CALIFORNIA:

                                          ROB BONTA
                                          Attorney General of California

                                          /s/ Pamela Pham
                                          DOAN-PHUONG (PAMELA) PHAM
                                          QUYEN TOLAND
                                          Deputy Attorneys General
                                          Office of the Attorney General
                                          California Department of Justice
                                          300 South Spring Street, Suite 1702
                                          Los Angeles, CA 90013
                                          Tel: (213) 269-6000
                                          Email: Pamela.Pham@doj.ca.gov

                                          Attorneys for Plaintiff State of California


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                                          FOR PLAINTIFF STATE OF
                                          COLORADO:

                                          PHILLIP J. WEISER
                                          Attorney General of Colorado

                                          /s/ Elizabeth W. Hereford
                                          Elizabeth. W. Hereford
                                          Assistant Attorney General
                                          Bryn A. Williams
                                          First Assistant Attorney General
                                          Colorado Department of Law
                                          1300 Broadway, 7th Floor
                                          Denver, CO 80203
                                          Telephone: (720) 508-6000
                                          Email: Bryn.Williams@coag.gov

                                          Attorney for the Plaintiff State of
                                          Colorado

                                          FOR PLAINTIFF STATE OF
                                          CONNECTICUT:

                                          WILLIAM TONG
                                          Attorney General of Connecticut

                                          s/ Julián A. Quiñones Reyes
                                          JULIÁN A. QUIÑONES REYES
                                          Assistant Attorney General
                                          Office of the Connecticut Attorney
                                          General
                                          165 Capitol Avenue
                                          Hartford, CT 06106
                                          Telephone: (860) 808-5030
                                          Email: julian.quinones@ct.gov

                                          Attorney for Plaintiff State of
                                          Connecticut




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                                          FOR PLAINTIFF STATE OF ILLINOIS

                                          KWAME RAOUL
                                          Attorney General of Illinois

                                          /s/ Daniel R. Betancourt

                                          DANIEL BETANCOURT, Assistant
                                          Attorney General
                                          JENNIFER M. CORONEL, Assistant
                                          Attorney General
                                          PAUL J. HARPER, Assistant Attorney
                                          General
                                          Office of the Illinois Attorney General
                                          115 S. LaSalle St., Floor 23
                                          Chicago, IL 60603
                                          Tel: (312) 415-7945
                                          Daniel.betancourt@ilag.gov
                                          Paul.harper@ilag.gov
                                          Jennifer.coronel@ilag.gov

                                          Attorneys for Plaintiff State of Illinois

                                          FOR PLAINTIFF COMMONWEALTH
                                          OF MASSCHUSETTS:

                                          ANDREA JOY CAMPBELL
                                          Attorney General of Massachusetts

                                          /s/ Katherine W. Krems
                                          KATHERINE W. KREMS
                                          Assistant Attorney General
                                          Office of the Massachusetts Attorney
                                          General
                                          One Ashburton Place
                                          18th Floor
                                          Boston, Massachusetts 02108
                                          (617) 963-2189
                                          Katherine.Krems@mass.gov

                                          Attorneys for Plaintiff Commonwealth of
                                          Massachusetts
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                                          FOR PLAINTIFF STATE OF
                                          MINNESOTA:

                                          KEITH ELLISON
                                          Attorney General of Minnesota

                                          s/Katherine A. Moerke
                                          KATHERINE A. MOERKE
                                          ELIZABETH ODETTE
                                          SARAH DOKTORI
                                          Assistant Attorneys General
                                          Office of the Minnesota Attorney
                                          General
                                          445 Minnesota Street, Suite 600
                                          St. Paul, MN 55101 55101-2130
                                          katherine.moerke@ag.state.mn.us
                                          Telephone: (651) 757-1288
                                          elizabeth.odette@ag.state.mn.us
                                          Telephone: (651) 728-7208
                                          sarah.doktori@ag.state.mn.us
                                          Telephone: (651) 583-6694

                                          Attorneys for Plaintiff State of Minnesota

                                          FOR PLAINTIFF STATE OF
                                          OREGON

                                          Dan Rayfield
                                          Attorney General of Oregon

                                          /s/ Timothy D. Smith
                                          Timothy D. Smith
                                          Attorney-in-Charge
                                          Antitrust, False Claims, & Privacy
                                          Section
                                          Oregon Department of Justice
                                          100 SW Market St, Portland OR 97201
                                          503.798.3297 |
                                          tim.smith@doj.oregon.gov

                                          Attorneys for Plaintiff State of Oregon

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                                          FOR PLAINTIFF STATE OF
                                          TENNESSEE:

                                          JONATHAN SKRMETTI
                                          Attorney General of Tennessee

                                          /s/ Daniel Lynch
                                          Daniel Lynch
                                          Assistant Attorney General
                                          S. Ethan Bowers
                                          Senior Assistant Attorney General
                                          Consumer Protection Division
                                          Office of the Tennessee Attorney
                                          General
                                          P.O. Box 20207
                                          Nashville, Tennessee 37202
                                          daniel.lynch@ag.tn.gov
                                          615.532.5732
                                          ethan.bowers@ag.tn.gov
                                          615.837.5582

                                          Attorneys for Plaintiff State of Tennessee




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                           WORD COUNT CERTIFICATION

       I certify that this Opposition complies with the applicable word limits excluding

the caption, signature lines, certificate of service, and any cover page or index in

accordance with Local Civil Rule 7.3(d)(1). This certification is made in accordance with

Local Civil Rule 7.3(d)(1). The undersigned relied on the word count feature provided by

word processing software. The Opposition contains 7,789 words. (See ECF No. 40

(enlarging word count limit to 8,000 words).)

Dated: February 25, 2025
                                                     By: s/ Henry C. Su
                                                     Henry C. Su

                                                     Attorney
                                                     United States Department of Justice
                                                     Antitrust Division
                                                     450 Fifth Street N.W., Suite 7100
                                                     Washington, DC 20530
                                                     Telephone: (202) 307-6200
                                                     Email: henry.su@usdoj.gov
                                                     Attorney for Plaintiff United States of
                                                     America




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                              CERTIFICATE OF SERVICE

       I hereby certify that on February 25, 2025, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system, which will send notification of such

filing to all counsel of record.

                                                    By: s/ Henry C. Su
                                                    Henry C. Su




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